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 8                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
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11   AMERICAN GNC CORPORATION,                   Case No. 4:18-cv-06778-HSG
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                     Plaintiff,                  ORDER ON JOINT STIPULATION OF
13   v.                                          DISMISSAL
14
     GOPRO, INC., ROBERT BOSCH GMBH
15   AND BOSCH SENSORTEC GMBH
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                      Defendants.
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     Order of Dismissal                                                 4:18-CV-06778-HSG
       Case 4:18-cv-06778-HSG Document 71 Filed 02/19/19 Page 2 of 2



 1          On this day, Plaintiff American GNC Corporation (“Plaintiff”) and Defendant GoPro Inc.
 2   and Defendants Robert Bosch GmbH and Bosch Sensortec GmbH (collectively “Defendants”)
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     accounted to the Court that they have resolved Plaintiff’s claims for relief against Defendants
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     asserted in this case. Plaintiff and Defendants have therefore requested that the Court dismiss
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     Plaintiff’s claims for relief against Defendants with prejudice and any Defendants’ claims,
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 7   defenses, or counterclaims for relief against Plaintiff without prejudice, and with all attorneys’

 8   fees, costs and expenses taxed against the party incurring same. The Court, having considered this

 9   request, is of the opinion that their request for dismissal should be granted.
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            IT IS THEREFORE ORDERED that Plaintiff’s claims for relief against Defendants are
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     dismissed with prejudice any Defendants’ claims, defenses, or counterclaims for relief against
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     Plaintiff without prejudice.
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            IT IS FURTHER ORDERED that all attorneys’ fees, costs of court and expenses shall be
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15   borne by each party incurring the same.

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17   Dated: February 19, 2019                              ________________________________
                                                           HAYWOOD S GILLIAM, JR.
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                                                           United States District Judge
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     Order of Dismissal                                1                              4:18-CV-06778-HSG
